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                                   IN THE UNITED STATES DISTRICT COURT FOR
                                      THE SOUTHERN DISTRICT OF GEORGIA
                                              SAVANNAH DIVISION


             UNITED STATES OF AMERICA,


             V.                                                Case No.     CR416-224-02


             JERMOND CURTIS,
                                      Defendant.




                       Stacey M. Goad, counsel of record for defendant Jermond Curtis

             in the above-styled case has moved for leave of absence.             The Court

             is mindful that personal and professional obligations require the

             absence          of    counsel on occasion. The Court, however, cannot

             accommodate its schedule to the thousands of attorneys who practice

             within the Southern District of Georgia.

                       Counsel may be absent at the times requested. However, nothing

             shall prevent the case from going forward; all discovery shall
             proceed, status conferences, pretrial conferences, and trial shall
             not be interrupted or delayed. It is the affirmative obligation of

             counsel to provide a fitting substitute.


                       Sb ORDERED this II day of May 2017.
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